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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



                                                )
WILMER GARCIA RAMIREZ, et al.,
                                                )
                                                )
                              Plaintiffs,
                                                )
                                                )
               v.                                         Civil Action No. 1:18-cv-00508-RC
                                                )
                                                )
UNITED STATES IMMIGRATION AND
                                                )
CUSTOMS ENFORCEMENT, et al.,
                                                )
                                                )
                              Defendants.
                                                )



                        [PROPOSED] FINAL JUDGMENT AND REMAND

       WHEREAS, Plaintiffs, Wilmer Garcia Ramirez and Sulma Hernandez Alfaro, on behalf of

themselves and others similarly situated, filed an Amended Complaint on March 30, 2018 (ECF

No. 21), asserting violations of a 2013 amendment to the Trafficking Victims Protection

Reauthorization Act (“TVPRA”), 8 U.S.C. § 1232(c)(2)(B) (the “Statute”), and Sections 706(1)

and (2) of the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 706(1)-(2);

       WHEREAS, on August 30, 2018, the Court certified a nationwide class (“Plaintiff Class”)

of “all former unaccompanied alien children who are detained or will be detained by ICE after

being transferred by ORR because they have turned 18 years of age and as to whom ICE did not

consider placement in the least restrictive setting available, including alternatives to detention

programs, as required by 8 U.S.C. § 1232(c)(2)(B).” (ECF No. 50.);

       WHEREAS, on July 2, 2020, after a four-week bench trial and in December 2019 and

January 2020, and voluminous post-trial submissions by the parties, the Court issued a 180-page

decision finding in favor of Plaintiffs and the Plaintiff Class (“July 2, 2020 Decision”), on both



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Counts I and II of the Amended Complaint, and specifically held that Defendants U.S. Immigration

and Customs Enforcement (“ICE”), the Acting Secretary of ICE, the Department of Homeland

Security (“DHS”), and the Acting Secretary of DHS, (collectively, “Defendants”) have violated

and failed to comply with the Statute and the APA prior to January 2020 (ECF No. 333);

       WHEREAS Defendants have continued to produce monthly data and Age-Out Review

Worksheets (“AORWs”) to Plaintiffs, and provided a summary to this Court (Ex. B, ECF No. 362-

2) that establishes that Defendants have made significant changes in their processes for Age-Out

custody determinations such that they appear to be in compliance with 8 U.S.C. § 1232(c)(2)(B);

       WHEREAS Plaintiffs and Defendants have agreed on a course of training for ICE Officers

who make custody Determinations under 8 U.S.C. § 1232(c)(2)(B);

       WHEREAS, Plaintiffs have now filed a Motion and Supporting Memorandum for Entry of

Final Judgment and Permanent Injunction, and Defendants have not opposed this Court entering

Final Judgment and oppose the entry of a permanent injunction,

                                               ***

       NOW, THEREFORE, for good cause shown, and in consideration of Plaintiffs’ Motion

and Supporting Memorandum for Entry of Final Judgment and Permanent Injunction (ECF

No. 359), as well as Defendants’ Opposition to Plaintiffs’ Proposed Permanent Injunction, and

Supporting Memorandum (ECF No. 362), and for the reasons set forth in the Court’s July 2,

2020 Decision (ECF No. 333):

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Final Judgment be

entered for Plaintiffs and the Plaintiff Class on Counts I and II of the Amended Complaint;

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the final agency action

(detaining age-outs without proper consideration of the least restrictive setting available) in this



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matter is set aside and the matter is REMANDED to the Agency Defendants in this case for

development of remedies to obtain compliance with 8 U.S.C. § 1232(c)(2)(B) and this Court’s July

2, 2020 decision, with the following instruction:

        Defendants shall make all Age-Out placement determinations in accordance with the

findings and conclusions set forth in the Court’s July 2, 2020 Decision (ECF No. 333).

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that upon remand, the

Agency Defendants agree to implement the following provisions:

   I.        Documentation

        1.     ICE shall complete a revised Age-Out Review Worksheet (“AORW”) with respect

to each Age-Out and Age-Out placement determination. ICE may use the revised AORW proposed

by ICE (ECF No. 345-03). The AORW should be completed by the FOJC making the placement

determination as that determination is being made and, absent an emergency or other extenuating

circumstances, AORWs should normally be completed and uploaded to ICE’s SharePoint site not

later than 24 hours after the custody determination is made.

        2.     With respect to each Age-Out who is placed in ICE’s Alternative to Detention

(“ATD”) program, issued an ICE bond, or detained by ICE, ICE shall upload and include in the

SharePoint site for such Age-Out the following documents, to the extent they exist: (a) all Post-18

Plans received from ORR; (b) copies of all emails or other communications with ORR, the Age-

Out’s attorney or other representative, any potential individual or organizational sponsor, or any

other third-party, or within ICE, concerning the placement of such Age-Out; (c) the Age-Out’s

Form I-213; (d) any comments relating to the Age-Out in ICE’s Enforcement and Removal Module

(“EARM”) database; and (e) any other documents considered or relied on by ICE in making or

relating to ICE’s placement determination.



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   II.        Training

         1.      Within sixty (60) days of the Court’s approval of this Order, ICE shall conduct one

or more virtual training sessions at which all current Field Office Juvenile Coordinators (“FOJCs”)

are trained on making placement determinations in compliance with the Court’s July 2, 2020

Decision and 8 U.S.C. § 1232(c)(2)(B), and completing the revised Age-Out Review Worksheet

using the PowerPoint presentations agreed upon by the parties (ECF 345-02 and 346-01).

         2.      ICE shall also train current FOJCs on making Age-Out placement determinations

and completing the revised AORW, using the agreed PowerPoint presentations (subject to any

revisions that may be subsequently agreed to by the parties and/or approved by the Court), at one

or more sessions at its annual in-person training meeting for FOJCs. Such in-person training shall

occur at least once each year; provided, however, that if an unforeseen and unusual event shall

prevent ICE from conducting such training in person in that year, ICE shall promptly advise the

Court and Plaintiffs in writing and explain why in-person training is not possible, and ICE shall

conduct the in-person training virtually.

         3.      As part of their on-boarding, each new FOJC who will be making or approving

Age-Out placement determinations shall be provided and required to review the PowerPoint

presentations agreed upon by the parties (subject to any revisions that may be subsequently agreed

to by the parties and/or approved by the Court), and their supervisor shall review those

presentations with the FOJC and answer any questions the FOJC may have. Such individualized

training shall be in addition to any on-the-job or other training the FOJC receives, and shall occur

as soon as practical after they become FOJCs, and before they begin making Age-Out placement

determinations. In addition, at least once each calendar quarter, ICE shall conduct one or more

virtual training sessions for all new FOJCs, who shall be trained on making placement decisions,



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and completing the revised Age-Out Review Worksheet, using the PowerPoint presentations

agreed upon by the parties.

          4.           ICE shall also include the agreed training materials on its internal website, and

make them available to FOJCs online. ICE shall make all existing and new FOJCs aware of the

availability of this online training and reference tool and encourage them to consult it in the event

they have questions concerning Age-Out placement determinations.

   III.        FOJC Handbook

   ICE         shall     include   in   its   FOJC   Handbook     the   revised   sections   concerning

8 U.S.C. §1232(c)(2)(B), and Age-Out placement determinations attached as Exhibit 1. ICE shall

publish the FOJC Handbook on its internal website.

   IV.         Periodic Reporting

          ICE shall provide the following information to Plaintiffs on a monthly basis, all of which

shall be subject to the Protective Order previously entered in this matter (ECF No. 63). Except as

provided below, such information shall be provided on or before the 15th day of the following

month:

          1.           Copies of the AORWs and all SharePoint materials for each Age-Out during the

preceding month. Absent unforeseen or unusual circumstances beyond ICE’s control, such

worksheets and materials shall be provided on or before the 15th of the following month, with the

exception of Age-Outs that are subsequently identified as a result of ICE’s monthly reconciliation

of its list of Age-Outs with ORR’s to the extent ORR agrees to voluntarily share such data, for

which worksheets and SharePoint materials shall be provided as soon as reasonably possible after

they are identified.




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         2.      A spreadsheet summary that shows by ICE field office (or sub-office in the case of

Harlingen, Texas): the name and “A” number of each Age-Out during that month; and whether

such Age-Out was detained or released.

         3.      A monthly spreadsheet summary that reports, by field office (or sub-office in the

case of Harlingen, Texas) and for ICE overall, the total numbers and percentages of Age-Outs that

were released and detained: (a) in every prior month during the current fiscal year; (b) in the current

month; and (c) year-to-date during the current fiscal year.

   V.         Role and Authority of Plaintiffs’ Class Counsel

         Plaintiffs’ counsel shall have the authority:

         1. to receive and review the information provided by ICE pursuant to Section IV. above

and such other information reasonably related to ICE’s compliance with this Order as Plaintiffs’

counsel may from time-to-time request;

         2. to make suggestions and/or recommendations to ICE as to further steps it should take

to ensure its compliance with this Order and 8 U.S.C. § 1232(c)(2)(B); and

         3.   to raise with the Court any issues or concerns with respect to ICE’s compliance with

implementation of this Order after remand that Plaintiffs’ counsel is not able to resolve with ICE.

   VI.        The Court’s Continuing Jurisdiction

         The Court shall retain jurisdiction to enforce and resolve any disputes concerning the terms

of, and Defendants’ compliance with, this Order after remand. In the event the parties have a

dispute concerning the requirements of this Order or the meaning of any terms therein, they shall

promptly meet and confer in a good faith attempt to resolve the dispute. If those efforts do not

succeed, the parties shall promptly present the dispute to the Court for resolution in accordance

with the local rules governing motions practice.



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   VII.    Court Approval

       This Order shall be entered and become effective upon approval by the Court, after a

fairness hearing, pursuant to Federal Rule of Civil Procedure 23(e).

       This is a Final and Appealable ORDER.


       Dated: _______________________         _____________________________
                                              Rudolph Contreras
                                              United States District Judge




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             EXHIBIT 1
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2.5 Violence Against Women Act Reauthorization of 2013

The Violence Against Women Act Reauthorization of 2013 (VAWA) affords services and
protections to specific populations of minor non-citizens, including unaccompanied children who
turn 18 years old while in the custody of the Office of Refugee Resettlement. VAWA § 1261
requires that unaccompanied minors who are transferred from HHS to DHS when they turn 18
shall be considered for placement in the least restrictive setting available after taking into
account the individual's danger to self and the community, and risk of flight. The statute further
requires that these individuals shall be eligible to participate in programs that use a continuum of
alternatives to detention based on the need for supervision.13

13 The Violence Against Women Reauthorization Act of 2013, Pub. L. No. 113-4 § 1261, March
7, 2013.

2.8 Garcia Ramirez

In August 2018, the U.S. District Court for the District of Columbia certified a class defined as
all “former [UAC] who are detained or will be detained by ICE after being transferred by ORR
because they have turned 18 years of age and as to whom ICE did not consider placement in the
least restrictive setting available, including alternatives to detention programs, as required by
[VAWA 2013].” On July 2, 2020, the court issued its Findings of Fact and Conclusions of Law
Concerning Liability and set forth the steps ICE must take when making an age-out custody
determination under VAWA 2013. The Court found, among other things, that VAWA 2013
requires ICE to (1) take into account for each individual age-out, the statutory factors of danger
to self, danger to community, and flight risk; (2) do so as it considers placement in the least
restrictive setting available; and (3) make each age-out eligible for alternatives to detention. In
light of the court’s decision, revisions have been made to age-out training materials and the Age-
Out Review Worksheet, but it remains imperative that age-outs and custody determinations for
age-outs are identified, tracked, and thoroughly documented.


3.3 Age-Outs

3.3.1 Overview of VAWA 2013

When unaccompanied alien children (UAC) are still in the custody of ORR when they turn 18,
federal law provides that custody is transferred to ICE, which must make a custody
determination as to where they will be placed. Such UAC are referred to as “Age Outs,” and
ICE’s decision as to where they will be placed is referred to as a “custody” or “placement”
determination. A 2013 provision in the Violence Against Women Act (sometimes referred to as
“VAWA 2013” or 8 U.S.C. § 1232(c)(2)(B), the section of the U.S. Code in which this statute is
codified) governs how this decision must be made.

It imposes two requirements and obligations on ICE:

   •   First, ICE “shall consider placement in the least restrictive setting available after taking
       into account the alien’s danger to self, danger to the community, and risk of flight.”
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   •      Second, such alien “shall be eligible to participate in alternative to detention programs,
          utilizing a continuum of alternatives based on the alien’s need for supervision, which may
          include placement of the alien with an individual or organizational sponsor, or in a
          supervised group home.”

In order to satisfy the first requirement, ICE must take affirmative steps to identify the
placements available to the Age-Out.
   •      A Field Office Juvenile Coordinator (FOJC) cannot determine which placement is the
          “least restrictive setting available” unless he or she first identifies those alternatives that
          are available.
   •      Such alternatives shall include “a continuum of alternatives,” including release on the
          Age-Out’s own recognizance (OREC) or an order of supervision (OSUP), release to a
          family member, friend or other individual sponsor, release to a shelter, group home or
          other organizational sponsor, and/or release pursuant to ICE’s Alternative to Detention
          (ATD) program or on an ICE bond.
              o Many, if not most, of these alternatives will usually be available to the Age-Out.
              o If an alternative is available, it must be considered.

The FOJC must then determine which of the alternatives available is the least restrictive after
taking into account the Age-Out’s danger to self, danger to the community, and risk of flight, and
consider placement in that least restrictive setting.
   •      For example, if the Age-Out is not a danger to themselves or the community or a flight
          risk, OREC or OSUP will likely be the least restrictive placement available.
   •      In most cases, concern that an Age-Out is a flight risk can be addressed by release to an
          individual or organizational sponsor. In those cases where release to a sponsor alone will
          not address the risk of flight, release pursuant to ICE’s ATD program or an ICE bond may
          be the least restrictive setting available.
   •      If there is evidence that the Age-Out is a danger to themselves or the community, the least
          restrictive setting available will depend on the nature and/or degree of that danger.

If the Age-Out is a danger to the community (for example, has a criminal history involving
crimes against persons or exhibited serious behavioral issues in ORR custody), or is a flight risk
that cannot be addressed by release on ATD or bond (for example, has made repeated escape
attempts or has multiple removals and re-entries), detention may be the least restrictive
alternative available.
3.3.1.1       Top 10 Dos and Don’ts

Pursuant to the Court’s decision, ICE has identified a number of things FOJCs should and should
not do in making Age-Out placement determinations:
   1. FOJCs should not make custody decisions for Age-Outs in the same way that custody
      decisions are made for adults. This means that FOJCs should not apply the “totality of the
      circumstances” standard when making custody decisions for Age-Outs. Instead, FOJCs
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    should make Age-Out placement determinations based on 8 U.S.C. § 1232(c)(2)(B),
    which requires that the FOJC identify available sponsors and other alternatives to
    detention, and determine—and consider placement in—the alternative that is least
    restrictive after taking into account the Age-Out’s danger to the community, danger to
    self, and flight risk.
2. FOJCs should not first determine whether an Age-Out should be detained and only then
    identify and consider the alternatives to detention that may be available. Rather, FOJCs
    must identify and consider the alternatives to detention that are available to the Age-Out
    before deciding where to place the Age-Out, including whether to release or to detain the
    Age-Out.
3. FOJCs shall not run the Risk Classification Assessment (“RCA”) tool as part of age-out
    custody determinations. The RCA tool was modified in August 2017 so it never
    recommends release. Therefore, the RCA can only be utilized and considered for the
    limited purpose of determining the level of detention (e.g. low, medium, high) when a
    custody decision has already been made and approved, and that determination is to detain
    the Age-Out.
4. FOJCs should not assume that an Age-Out is a flight risk solely because the Age-Out
    does not have a permanent address in the United States or does not have ties to the
    community. These are factors that are present for nearly all Age-Outs as recent arrivals to
    the United States, and they are not sufficient reasons (either alone or in combination with
    one another) for detaining an Age-Out.
5. FOJCs may not justify a decision to detain an Age-Out based solely on a finding that the
    Age-Out has no “viable” sponsor. Under the statute, the issue is whether an individual or
    organizational sponsor is available, and where a sponsor is not available, officers must
    still consider releasing the Age-Out on his or her own recognizance, pursuant to ICE’s
    Alternatives to Detention program, and/or on an ICE bond.
6. FOJCs may not conclude that an Age-Out has no available sponsor simply because ORR
    has not provided the name and/or contact information of an individual or organizational
    sponsor that is willing to accept the Age-Out. Instead, FOJCs must take affirmative steps
    to identify and consider available individual and organizational sponsors and shelters for
    the Age-Out.
7. FOJCs may not disqualify a sponsor simply because ORR did not approve them. ORR’s
    release requirements are different than ICE’s, and ORR may not always have time to
    complete the approval process before a UAC turns eighteen. Rather, FOJCs must
    independently assess the availability and suitability of all potential individual and
    organizational sponsors.
8. VAWA 2013 does not prohibit the release of an Age-Out to an undocumented sponsor.
    FOJCs must consider any potential sponsor identified, including those without lawful
    status.
9. FOJCs should not conclude that an Age-Out is a danger to themselves because they may
    not be able to support themselves or become homeless. Rather, danger to self refers to the
    risk the Age-Out will harm themselves and is evidenced by, for example, mental health
    issues, suicide attempts or ideation, or a history of self-harm. Further, such evidence does
    not require detention, and alternatives to detention must still be considered.
10. An FOJC’s responsibilities with regard to Age-Outs are not limited to the day of the Age-
    Out’s eighteenth birthday. FOJCs should begin working on an Age-Out’s case at least two
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        weeks in advance where possible, and if for some reason the VAWA 2013 placement
        identifications, considerations, and custody determination have not been completed,
        FOJCs must continue working on the case after the Age-Out turns eighteen.


3.3.2   How to Make a Custody Determination under VAWA 2013

Under VAWA 2013 and the Court’s decision, officers must take the following steps in making
Age-Out determinations:
   1. Identify, collect, and evaluate any available evidence of the statutory risk factors (danger
      to self, danger to the community, or risk of flight);
   2. Identify available alternatives to detention, including release to individual or
      organizational sponsors or pursuant to ICE’s ATD program or on an ICE bond; and
   3. Consider the least restrictive alternative available after taking into account the three
      statutory risk factors.
 3.3.2.1 Step 1: Analyze Statutory Risk Factors

Is the Age-Out a:
   •    Danger to self?
   •    Danger to the community?
   •    Flight risk?

Information relating to an Age-Out’s danger to self, danger to community, and flight risk is
commonly found in the following places:
   •    ORR’s Post-18 Plan and Significant Incident Reports (SIR)
   •    A-file (especially I-213 narrative)
   •    Electronic Databases (e.g., EARM, PCQS, NCIC)
   •    Correspondence from attorney, advocate or representative
   •    Information provided by Age-Out

Danger to Self
Will the Age-Out harm himself/herself if released? Factors to consider are as follows. This list is
not meant to be exhaustive.
   •    Concern that an Age-Out may not be able to support themselves or might become
        homeless does not constitute danger to self.
   •    Rather, danger to self refers to the risk that the Age-Out will harm themselves, and is
        evidenced by, for example:
            o Mental health issues;
            o Suicide attempts or ideation;
            o A history of self-harm.
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   •   Has the Age-Out been receiving treatment or is there a plan to address such issues if the
       Age-Out is released?

NOTE: Danger to self may be addressed by release to a sponsor or group home that has the
capability to provide an adequate and appropriate treatment plan that could include counseling
and/or medication; however, FOJCs are not trained to determine proper medical treatment and
must rely on licensed professionals to determine the best course of treatment.

Danger to Community
Will the individual harm the community (persons or property) if released? Factors to consider
are as follows. This list is not meant to be exhaustive.
   •   Past criminal/delinquent history?
          o Is the charge still pending or was there a conviction?
          o Recency?
          o Did the crime involve the use/possession of a weapon?
          o Involve harm to person vs. property?
          o Isolated incident vs. pattern or practice of criminal activity?
          o Evidence of rehabilitation?
          o Aggressive behavior toward others while in custody (ORR, state/local, or DHS
               custody)?
          o Gang membership or documented ties to terrorist groups/organizations?
   •   Evidence of danger to the community may come from, for example, electronic databases
       (TECS, NCIC), SIRs, and detention in an ORR secure facility.
          o Note that SIRs are issued for many reasons, some of which have nothing to do
               with danger to the community. Officers should determine the reason for the SIR
               to assess whether it evidences danger to the community.

Flight Risk
Is there evidence the individual will not appear for future immigration hearings or, if necessary,
for removal? Factors to consider are as follows. This list is not meant to be exhaustive.
   •   Escape history?
   •   Multiple immigration encounters?
   •   In absentia order or failure to appear (immigration or criminal)? If so, is there a motion
       to reopen the in absentia order?
   •   Order of removal?

An Age-Out’s lack of community ties or a fixed address, or length of time in ORR custody, either
alone or in combination with one another, are not justifications to find the Age-Out poses a flight
risk and cannot be released on OREC.
Note: While a pending motion to reopen does not invalidate a removal order unless and until the
motion to reopen is granted, it may provide additional information (such as lack of notice) that is
relevant to whether the failure to appear is evidence of flight risk. Please note that some motions
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   to reopen are accompanied by automatic stays of removal while the motion is pending. If there
   are questions about motions to reopen in general or the specific reasons why an Age-Out is
   moving to reopen his or her case, please consult your local OPLA office.
   Does the Age-Out have incentive(s) to appear?
       •   Community ties/support system in the U.S.?
       •   Attending school in the U.S. or concrete plans to?
       •   Pending petitions or applications for relief? Will the Age-Out be residing with others who
           have or are complying with their own immigration process?

Remember, in most cases, flight risk can be mitigated by release to an individual or organizational
sponsor. In some cases where release to a sponsor alone will not mitigate flight risk, flight risk may e
mitigated by release pursuant to ICE’s ATD program or issuance of an ICE bond.
     3.3.2.2 Step 2: What Placement Alternatives Are Available?

       •   ICE cannot determine the least restrictive setting available without first identifying the
           full range of alternative placements available. This includes taking affirmative steps to
           identify available settings.
       •   Potential placements that must be identified and considered include:
               o Individual and organizational sponsors, including shelters or group homes.
               o Other alternatives to detention, such as release pursuant to ICE’s ATD program or
                   on an ICE bond.
       •   Identifying potential sponsors requires inquiry and research.
               o If a potential sponsor has already been identified, promptly evaluate the sponsor’s
                   availability.
               o ORR's decision to disqualify a sponsor does not transfer to ICE so officers should
                   not rely on ORR’s sponsorship evaluations and decisions.
                        ORR has separate and distinct statutory obligations and sponsorship
                           criteria and standards.
                        Therefore, ORR’s inability to vet a sponsor or place an Age-Out with a
                           sponsor does not mean that the sponsor is unavailable or unsuitable.

   If ORR does not provide a release recommendation or the name of a potential sponsor—or a
   sponsor identified by ORR is determined to not be available—the FOJC must make additional
   efforts to identify other available sponsors through the following efforts:
       •   Review material in the Age-Out’s file and on the Form
           I-213;
       •   Inquire with the Age-Out’s attorney, advocate, or other representative;
       •   Ask the Age-Out if she/he knows of any potential sponsor (if possible before the Age-
           Out’s 18th birthday or during an in-person interview on the 18th birthday) and encourage
           the Age-Out to call potential sponsors themselves; and
       •   Contact shelters, group homes, and organizational sponsors, including those listed
           on the National Age-Out Shelter List.
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These efforts do not need to occur in any particular order; however, before an FOJC determines
that no sponsor is available, the FOJC must exhaust all of these options and explain the efforts
made in the AORW.
   •   VAWA 2013 does not require that an Age-Out be released to a sponsor. The Age-Out
       may be released on his/her own recognizance.
   •   Release of an Age-Out without a sponsor is permissible when the Age-Out is determined
       not to be a danger to self or danger to the community, and the flight risk concerns are
       limited to minimal ties to the community, which the Court noted is present in almost
       every case and not justification for denying release on the Age-Out’s own recognizance.
   •   Release of the Age-Out without a sponsor still requires a valid address where the Age-Out
       may receive correspondence from EOIR and ICE.
           o Utilize the U.S. Postal Service databases or other database to confirm that the
               address is valid.
   •   What about cases that present some indicia of danger to self, danger to community,
       and/or additional flight risk concerns?
           o Consider whether release to a sponsor – individual or organizational – would
               mitigate those concerns.
   •   Sponsors must:
       1. Be an adult; and
       2. Have a fixed address where the Age-Out can reside and receive correspondence from
           ICE and EOIR.


   •    Minimum Steps FOJCs should take when evaluating an individual sponsor:
            1. Confirm the sponsor’s date of birth to ensure he/she is over 18.
            2. Verify the address provided using the U.S. Postal Service database:
                https://tools.usps.com/zip-code-lookup.htm?byaddress
            3. Run sponsor’s name and date of birth through NCIC and CIS.
NOTE: The immigration status and criminal history of a proposed sponsor does not, per se,
prevent release of an Age-Out to the sponsor. But they could warrant more restrictive conditions
of release, such as ATD or bond, since such a sponsor, standing alone, may not sufficiently
mitigate the Age-Out’s danger to self, danger to community, or flight risk.
Organizational Sponsors
Where an individual sponsor is not available, FOJCs should consider placement with an
organizational sponsor, including shelters and group homes. Field Offices should develop
relationships with shelters, group homes, and organizational sponsors in its AOR that will accept
Age-Outs. FOJCs should also consider organizational sponsors on the National Age-Out Shelter
list, which lists those shelters/group homes ICE has released Age-Outs to in the past. The list is
available here [Enter SharePoint Hyperlink]
   •   Promptly contact a minimum of five (5) shelters* from the National Age-Out Shelter List
       or that the FOJC otherwise identifies to determine if they will accept the Age-Out. FOJCs
       are not constrained to contacting or releasing to the organizations on this list. FOJCs are
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        encouraged to work collaboratively with other FOJCs within and across AORs and with
        JFRMU to share information about available organizational sponsors. FOJC must
        document all efforts made to identify available sponsors.
    • Organizational sponsors outside a field office’s AOR are perfectly acceptable and should
        be considered available if closer release options are not. However, the shelter and the
        Age-Out are responsible for coordinating transportation from the ORR facility to the
        sponsor.
*If an available sponsor is identified before contacting 5 shelters, the FOJC does not need to
continue contacting additional shelters.
General Requirements for Identifying and Releasing to Sponsors
Per VAWA 2013, ICE must exercise reasonable due diligence to identify potential sponsors and
such efforts should be detailed in the AORW. FOJCs should make every effort to complete these
efforts, to the extent possible, before the UAC’s 18th birthday. If the Age-Out is being released,
release must occur as expeditiously as possible. The Age-Out should not be detained any longer
than is necessary to complete the release paperwork.
Other Alternatives to Detention
Other alternatives to detention include:
   A. Release with ATD – Release + GPS monitoring or phone monitoring pursuant to ICE’s
      Alternatives to Detention program (ISAP).

   •   ICE’s Alternatives to Detention (ATD) Program is a flight-mitigation tool that uses
       technology and case management to ensure compliance.

   •   To be eligible, an immigrant must be 18 years of age or older, removable, and at some
       stage of immigration proceedings.

   •   The ATD Program utilizes three (3) different forms of technology that help monitor
       participants while enrolled in the program--Telephonic reporting, GPS monitoring, and
       SmartLink.

   •   ATD is currently available in over 94 locations nationwide for eligible participants
       residing within all 24 AORs.
AGE-OUTS ARE ELIGIBLE FOR RELEASE ON ICE’S ATD PROGRAM [PUT IN
TEXT BOX]
   B. ICE Bond – requires an obligor to post a set dollar amount as collateral for the Age-Out’s
      release (other conditions of release may be imposed).

Immigration bonds are primarily issued where an alien who has been placed in removal
proceedings is released from ICE custody.
   •   The bond requires the alien to appear in response to a properly issued notice to surrender
       on a particular date at a particular place and time (a “demand notice”).
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   •   The person or company that posted the bond (the obligor) forfeits the face value of the
       bond if the obligor or the alien fails to comply with the terms and conditions of the bond.

By regulation, immigration bonds may be secured by cash or cash equivalent or by a surety
company authorized by the Department of the Treasury to post bonds on behalf of the Federal
government.
The following persons can post a bond on behalf of an Age-Out (or any alien): U.S. Citizens;
Lawful Permanent Residents; law firms; non-profit organizations.
   •   INA § 236(a)(2)(A): minimum bond is $1,500
   •   If a bond higher than $1,500 is placed on an Age-out, the FOJC must justify, with detail,
       the basis for the increased amount.

The issuance of a bond is intended to mitigate flight risk only. See Matter of Urena, 25 I&N Dec.
140, 141 (BIA 2009)(“Immigration Judge should only set a bond if he first determines that the
alien does not present a danger to the community.”)
Factors to consider when deciding whether to set a bond and the bond amount include, but are
not limited to: “(1) whether the immigrant has a fixed address in the United States; (2) the
immigrant’s length of residence in the United States; (3) the immigrant’s family ties in the
United States, (4) the immigrant’s employment history, (5) the immigrant’s record of appearance
in court, (6) the immigrant’s criminal record, including the extensiveness of criminal activity, the
recency of such activity, and the seriousness of the offenses, (7) the immigrant’s history of
immigration violations; (8) any attempts by the immigrant to flee prosecution or otherwise
escape from authorities; and (9) the immigrant’s manner of entry to the United States.” See
Matter of Guerra, 24 I&N Dec. 37, 40 (BIA 2006).
Consult with your local OPLA office to find out if jurisdiction-specific case law or settlement
agreements require or prohibit you from considering additional factors.
ALL AGE-OUTS CAN BE CONSIDERED FOR ISSUANCE OF BOND [PUT IN TEXT
BOX]
These alternatives to detention MUST BE CONSIDERED in every Age-Out custody
determination where release to a sponsor alone does not mitigate an Age-Out’s flight risk and/or
danger to self or the community.
 3.3.2.3 Step 3: Determine and Consider the Least Restrictive Setting Available.

   •   Once you have gathered available evidence relating to whether the Age-Out is a danger to
       self, danger to community, or flight risk, and identified alternative placements available,
       you must determine--and consider--the alternative that is the least restrictive setting.
   •   You must identify and consider the alternatives to detention that are available as part of
       your placement determination, including whether to release or detain the Age-Out.
           o An officer cannot determine which placement is “the least restrictive available”
               without first identifying those alternatives that are available.
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            o If an alternative is identified and available, it must be considered.
   •    If an Age-Out is not a danger to self, danger to the community, or a flight risk, OREC,
        OSUP or parole will likely be the least restrictive setting available.
   •    In most cases, concern that an Age-Out is a flight risk can be mitigated by release to an
        individual or organizational sponsor.
   •    In those cases where release to a sponsor alone will not mitigate flight risk (e.g., prior
        escape attempts), release pursuant to the ATD program or an ICE bond may be the least
        restrictive setting available.
3.3.3   Risk Classification Assessment (RCA) Tool

ICE officers shall not run the RCA tool as part of an Age-Out custody determination. This is
because the RCA tool was modified in August 2017 so that it never recommends release.
Therefore, the RCA may only be utilized and considered for the limited purpose of determining
the level of detention (e.g., low, medium, high) in those cases where a custody determination has
already been made and approved and that determination is to detain the Age-Out.
Again, the RCA tool shall not be used in connection with decisions concerning whether to detain
or release an Age-Out under 8 U.S.C. § 1232(c)(2)(B). [PUT IN TEXT BOX]
3.3.4   Timing: When to Start and When to Stop

Where possible, an officer should begin identifying any evidence of the risk factors and
identifying potential sponsors at least two weeks before the UAC’s 18th birthday. This includes
calling the UAC’s case manager to request a Post-18 Plan and discuss the status of ORR’s efforts
to reunify the UAC, any special health or other needs or problems, and identify potential
sponsors.
   •    FOJCs should comply with the statute, including identifying and considering the least
        restrictive placement available, on or before the day the Age-Out turns 18.
   •    However, if for some reason compliance does not occur by that date, ICE officers are not
        relieved of their obligation to follow VAWA 2013 at the end of the day on the Age-Out’s
        eighteenth birthday. Rather, officers must continue working as long as it takes to fulfill
        their obligations under the statute.
   •    However, the statute does not require “periodic re-assessment” of a decision once it has
        been made.


3.3.5   JFRMU Concurrence

If the FOJC/SDDO determine that ATD, ICE bond, or detention is appropriate, the FOJC/SDDO
must seek JFRMU concurrence prior to finalizing the custody determination. Promptly
contact JFRMU (by email or phone). Be prepared to electronically share all the materials and
information that you collected and considered to arrive at the particular custody determination,
and to discuss how you weighed the statutory factors, what steps you took to identify/evaluate
alternatives to detention, and why you reached the determination.
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3.3.6   Documenting Your Decision – When, Where, and How

Timely, accurate and detailed records are critical to completing the Age-Out custody
determination process.
   •    Record all of your considerations and efforts required under VAWA 2013
        contemporaneously with your recommendation/custody decision.
   •    Such considerations and efforts should be recorded on the newly amended Age-Out
        Review Worksheet (AORW), ICE Form 70-070.
   •    Detail is key!
            o If it is not included in the AORW, it will be difficult to demonstrate that you
                considered it.
   •    Add the case and accompanying documents to SharePoint.
            o If the determination is release of the Age-Out on ATD or an ICE bond or to detain,
                you must upload all documents that you considered in making your placement
                determination.
   •    Enter detailed comments in EARM, to include the date of age-out, VAWA custody
        determination, and date that AORW and SharePoint materials were uploaded.
   •    Complete an addendum to I-213 summarizing the VAWA 2013 evaluations and
        determination.

Amended Age-Out Review Worksheet: What’s New?
The AORW has been revised to comply with the Court’s decision and the process set forth in this
handbook. As revised, the AORW is intended to guide the FOJC through the Age-Out custody
determination process and to provide evidence of the FOJC’s compliance with his or her
obligations pursuant to 8 U.S.C. § 1232(c)(2)(B).
   •    The AORW now includes a section for JFRMU concurrence if recommendation is
        detention, issuance on bond or release on ICE’s ATD program.
   •    The revised AORW requires that you detail the information you collected and relied upon
        during the custody determination process. This includes the sponsors and other placement
        alternatives you identified and considered.
   •    Just providing conclusory answers (e.g., “Age-Out is a flight risk,” “no sponsor
        available” or “no viable sponsor”) are not acceptable. Instead, you are to explain your
        efforts, thought process, and analysis in the provided narrative boxes!
   •    AORWs should only be completed by the FOJC and supervisor involved in the Age-Out’s
        custody determination. Do not complete an AORW on behalf of another officer.

SharePoint
For Age-Outs who are placed on ATD, issued an ICE Bond, or detained, FOJCs must upload
and attach to the SharePoint record all documents they considered in reaching the placement
determination. This includes:
   1. The Age-Out Review Worksheet (ICE Form 70-070);
   2. Any Post-18 Plan or other communication with ORR;
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   3. Any communication with the Age-Out’s attorney or other representative;
   4. Form I-213;
   5. Any communications with or concerning potential sponsors;
   6. Print-outs of the EARM Case Comments;
   7. Electronic/scanned copy of documents in the A-file related to the custody determination;
      and
   8. Any other document (not in the A-File) and any other email traffic related to that
      particular Age-Out.

For Age-Outs who are released from ICE custody with no additional conditions
(ATD/Bond), FOJCs must upload and attach the following documents to the SharePoint record:
   1. The Age-Out Review Worksheet (ICE Form 70-070); and
   2. Post-18 Plan, if submitted by ORR.

Add the case to the SharePoint site and upload the accompanying documents within 24 hours of
making the final custody determination.
3.3.7   Putting it All Together: Process Overview

   •    Keep track of and monitor UACs who are close to aging out.
   •    Reach out to ORR two (2) weeks in advance of the UAC’s 18th birthday (where possible)
        to request a Post-18 Plan.
   •    If ORR does not provide a Post-18 Plan, check to see if the UAC is represented by
        counsel/representative and contact that individual to find out if there is anyone willing
        and able to accept the Age-Out.
   •    Look for point of contact information in the Form I-213 and A-File.
   •    Request to interview (in-person or by phone) the UAC to identify potential sponsors (if
        needed).
   •    Still no sponsor available or to whom the Age-Out can be released? Contact a minimum
        of five (5) shelters, including those on JFRMU intranet site to see if they have housing
        available to accept the Age-Out.
   •    If no individual or organizational sponsor is available, or there are flight risk concerns
        that are not addressed by release to a sponsor, consider release pursuant to the ATD
        program or on an ICE bond.
   •    Consider all available alternatives in determining the least restrictive setting available
        after taking into account the Age-Out’s danger to self or community or flight risk.

Promptly consider alternatives to detention identified through efforts described previous.
   •    Is release without a sponsor appropriate after taking into account the alien's danger to
        self, danger to the community, and risk of flight?
   •    Is release to a sponsor appropriate after taking into account the alien's danger to self,
        danger to the community, and risk of flight?
   •    Is release with ATD appropriate after taking into account the alien's danger to self,
        danger to the community, and risk of flight?
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   •    Is issuance of a bond appropriate after taking into account the alien's danger to self,
        danger to the community, and risk of flight?
   •    Is detention appropriate after taking into account the alien's danger to self, danger to the
        community, and risk of flight?

To the maximum extent possible and in coordination with ORR, arrange for Age-Out releases to
occur directly from the ORR facility.
   •    FOJC completes AORW and submits to supervisor for review.
           o For more complicated cases or those in which the recommendation is to detain the
              Age-Out, begin discussing the case with your supervisor as soon as possible.
   •    Recommendations to detain or issue a bond or place on ICE ATD must be approved by
        JFRMU in advance of finalizing the custody determination.

Once supervisor makes a custody determination, promptly:
   •    Create case in SharePoint.
   •    Upload AORW + supporting documentation.
   •    Update EARM using the correct book-out code and add case comments.
   •    Summarize VAWA 2013 determination in I-213 addendum.


3.3.8   Best Practices

   •    Get to know your ORR counterparts and ORR facilities in your AOR.
   •    Keep track of upcoming possible Age-Outs. The UAC Portal should be used for docket
        reconciliation and EARM should be used for docket management. FOJCs should keep a
        list from the EARM juvenile docket with the potential Age Outs and review it on a
        weekly basis and set call-ups.
   •    To the extent possible, FOJCs should contact the UAC’s case manager at least two (2)
        weeks before the UAC’s eighteenth birthday, (a) to request a Post-18 plan, and (b) to
        discuss the status of ORR’s efforts to reunify the UAC with family members or friends in
        the U.S., any special health or other needs or problems the UAC may have, and the
        identity, address, and contact information for any potential individual or organizational
        sponsors.
   •    Record your efforts to evaluate placement options in detail and do so in a timely manner.
